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               EXHIBIT
                  2
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  1                    UNITED STATES DISTRICT COURT
  2                  NORTHERN DISTRICT OF CALIFORNIA
  3                              SAN FRANCISCO
  4    - - - - - - - - - - - - - - - - -x
  5     CRISTA RAMOS, et al.,                     :
  6                              Plaintiffs,      :    Case No.
  7             v.                                :    3:18-cv-1554-
  8     KIRSTJEN NIELSEN, et al.,                 :    EMC
  9                              Defendants.      :
10     - - - - - - - - - - - - - - - - -x
11
12
13                        VIDEOTAPED DEPOSITION OF
14                U.S. DEPARTMENT OF HOMELAND SECURITY
15              By and Through Its Corporate Designee
16                           KATHY NUEBEL KOVARIK
17                             Washington, D.C.
18                         Friday, August 3, 2018
19                                 9:35 a.m.
20
21
22
23     Job No.:      LA-185448
24     Pages 1 - 289
25     Reported By:       Joan V. Cain


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  1             Videotaped Deposition of U.S. DEPARTMENT OF
  2    HOMELAND SECURITY, By and Through Its Corporate
  3    Designee, KATHY NUEBEL KOVARIK, held at the law
  4    offices of:
  5
  6                    SIDLEY AUSTIN, LLP
  7                    1501 K Street, Northwest
  8                    Washington, D.C. 20005
  9                    (202) 736-8000
10
11              Pursuant to Notice, before Joan V. Cain,
12     Court Reporter and Notary Public in and for the
13     District of Columbia.
14
15
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25


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  1   designations and the criteria considered, et cetera,                   11:57:25
  2   et cetera, not the basis on which the secretary made                   11:57:28
  3   decisions.      That is outside of this witness's scope.               11:57:31
  4              MS. MACLEAN:      This is fully and completely              11:57:34
  5   part of how the -- the agency reviews TPS                              11:57:36
  6   designations for termination or extension.                             11:57:43
  7              MR. TYLER:     I -- I disagree.       We have a             11:57:48
  8   disagreement, Counsel.         The witness can answer the              11:57:51
  9   question to the best of her ability.                                   11:57:54
10               MS. MACLEAN:      Just to clarify for the                   11:57:58
11    record, the relevant part of the 30(b)(6) notice                       11:57:59
12    topic 1, we specifically cite that we are seeking                      11:58:03
13    and in the letter from Rhett Martin he confirms this                   11:58:07
14    as well and confirms that the witness will be able                     11:58:19
15    to testify about practices and processes with                          11:58:21
16    respect to whether -- whether to extend or terminate                   11:58:23
17    temporary protected status including the criteria                      11:58:26
18    considered when making the decisions to extend or                      11:58:30
19    terminate TPS designation.                                             11:58:32
20               MR. TYLER:     And the questions you're asking              11:58:34
21    have no relevance to that and are certainly outside                    11:58:35
22    the scope of that.                                                     11:58:38
23    BY MS. MACLEAN:                                                        11:58:39
24        Q      So for the witness, the immediately prior                   11:58:39
25    block of quote from Senator Feinstein is the                           11:58:44


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  1   question that she's answering, so I invite you to                      11:58:48
  2   review that so that you have the appropriate                           11:58:56
  3   context.                                                               11:58:59
  4       A      I still don't understand where this gets to                 11:58:59
  5   soliciting or accepting recommendations or input or                    11:59:01
  6   the criteria considered.          I guess I'd ask you to               11:59:04
  7   define how broad is processes because in my view the                   11:59:08
  8   processes were how we -- how we get to -- how the                      11:59:12
  9   agency works to develop the decision-making process.                   11:59:15
10        Q      We're interested in --                                      11:59:18
11        A      The secretary makes the decision.                           11:59:19
12        Q      -- what is included in (b) is the criteria                  11:59:21
13    considered and how that criteria is considered so --                   11:59:25
14               MR. TYLER:     No, it is not.       It most                 11:59:27
15    certainly not.       What you just said was inaccurate.                11:59:30
16    BY MS. MACLEAN:                                                        11:59:33
17        Q      So can you please review this and just                      11:59:34
18    answer the question?         He's not --                               11:59:36
19               MR. TYLER:     Same objection.                              11:59:37
20    BY MS. MACLEAN:                                                        11:59:38
21        Q      Counsel has not directed you not to answer                  11:59:38
22    the question.       So if you could please review that                 11:59:40
23    and answer the question, I would appreciate it.                        11:59:42
24        A      I'm going to read exactly everything that                   11:59:47
25    you just gave me, including the beginning of the                       11:59:49


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  1   transcript so I can understand the entire context of                   11:59:52
  2   the transcript.                                                        11:59:54
  3              So I'm immediately jumping from page 1 to                   12:00:42
  4   15.     I don't know what else is --                                   12:00:46
  5       Q      It's an excerpt from the transcript.            It's        12:00:47
  6   a two hour --                                                          12:00:47
  7       A      I understand.      But I -- I also need to know             12:00:50
  8   what Secretary Nielsen said between pages 2 and 14.                    12:00:51
  9       Q      This is the -- there are conversations                      12:00:55
10    about border patrol, interior enforcement, and                         12:00:56
11    things of that nature.         I'm specifically interested             12:01:00
12    in --                                                                  12:01:00
13        A      I understand, but she could have spoken                     12:01:04
14    about TPS or other legal issues that I'm not aware                     12:01:05
15    of here.                                                               12:01:09
16        Q      Okay.    So I'll -- I'll -- I'll rephrase the               12:01:09
17    question.      I just want to make sure that you've                    12:01:10
18    read --                                                                12:01:13
19        A      No.     I haven't gotten that far.        I'm on            12:01:13
20    page 1.                                                                12:01:16
21        Q      If you -- if you'd just look at the bottom                  12:01:16
22    part, the portion from Senator Feinstein and the --                    12:01:18
23    and the remainder of the following page, and I'll                      12:01:22
24    ask you a different question that is not directly                      12:01:27
25    related to this if you're concerned about the -- the                   12:01:30


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  1    advisors and the deputy director, and then                           13:50:16
  2    ultimately the secretary.         And at that point when             13:50:23
  3    the secretary clears it, it is then transmitted by                   13:50:31
  4    the Office of General Counsel or by USCIS to OMB.                    13:50:41
  5    So OMB comes in after a decision is made.                            13:50:50
  6       Q      And what is the role of OMB?                               13:50:52
  7       A      OMB will -- will submit it to relevant                     13:50:54
  8    partners within the federal branch, executive                        13:51:01
  9    branch, and that really entails the Department of                    13:51:05
10     State.    So I do want to make it clear that I'm                     13:51:12
11     talking about the process 2017 to the present.                       13:51:14
12        Q      Yeah.    Okay.                                             13:51:17
13        A      What you've asked for is to go back to                     13:51:21
14     2008, and at some point I do want to go back --                      13:51:25
15        Q      Okay.                                                      13:51:27
16        A      -- to the time period between 2008 and                     13:51:27
17     2017.                                                                13:51:30
18        Q      Okay.    That -- that would be helpful.           So       13:51:30
19     we'll get there.       Is there anything else that                   13:51:32
20     happens after the O -- what happens after the OMB                    13:51:39
21     process of sharing that with the Department of                       13:51:42
22     State?                                                               13:51:44
23        A      The OMB would share it, and once they                      13:51:44
24     receive comments from the interagency partners,                      13:51:46
25     which is mainly the Department of State, they would                  13:51:49


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  1   provide any edits back to OGC and USCIS Regulatory                    13:51:52
  2   Coordination Division for us to adjudicate.               Once we     13:51:59
  3   sign off on those, we send it back -- I'm sorry.                We    13:52:02
  4   make sure that OMB has no other issues.              So it's a        13:52:06
  5   back-and-forth with OMB at that point on the                          13:52:10
  6   technicalities on the language to ensure that the                     13:52:12
  7   interagency agrees with the Federal -- Federal                        13:52:17
  8   Register Notice.                                                      13:52:27
  9       Q      And at that -- what happens at that point?                 13:52:27
10        A      Once the entire -- once everyone is                        13:52:29
11    satisfied with the Federal Register Notice through                    13:52:32
12    the OMB process, it is then signed and submitted to                   13:52:34
13    the Federal Register.         So we submit it to the                  13:52:41
14    Federal Register.        There are certain time periods in            13:52:49
15    which you can have it printed.           We send it over.       It    13:52:51
16    may take a day for it to -- to be uploaded and to                     13:52:54
17    have it for public inspection and then it's printed                   13:53:00
18    in the Federal Register.                                              13:53:03
19        Q      At what point in this process is the                       13:53:04
20    decision made?       Would you consider that when the                 13:53:07
21    Federal Register Notice is --                                         13:53:12
22        A      A decision made?                                           13:53:12
23        Q      -- finalized or when the secretary signs                   13:53:14
24    off on the --                                                         13:53:18
25        A      Decision memo.                                             13:53:18


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  1       Q      -- decision memo is the final decision?                    13:53:19
  2       A      Yes.                                                       13:53:21
  3       Q      One other question that I hadn't asked                     13:53:30
  4    before:    There's a decision memo in CIS and the                    13:53:32
  5    country conditions report.          Who writes the country           13:53:39
  6    conditions report and who writes the decision --                     13:53:44
  7    sorry.    Who writes the country conditions report?                  13:53:45
  8       A      The country conditions report is written by                13:53:45
  9    the research team within Refugee Asylum and                          13:53:49
10     International Operations Directorate.             That is a          13:53:55
11     component within USCIS.         They handle refugee and              13:53:55
12     asylum work.                                                         13:53:58
13        Q      And then the decision memo is written in                   13:54:00
14     the way that you've described?                                       13:54:02
15        A      Yes.    So they provide that research and                  13:54:03
16     country conditions to my staff and then incorporate                  13:54:05
17     it into the decision.                                                13:54:08
18        Q      And there were just a couple of people --                  13:54:14
19     you already answered a lot of these questions                        13:54:17
20     earlier, so I can cut some of them down.              There are      13:54:19
21     a number of people I just wanted to understand what                  13:54:24
22     their role was.       Arex Avanni?                                   13:54:27
23        A      Do you mind if I go back to the 2008 to                    13:54:32
24     2017, or do you want to talk about the people?                       13:54:34
25        Q      Just -- if it's okay I'd rather go through                 13:54:36


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  1        Q     Do you remember what this was in response                   14:17:48
  2    to?                                                                   14:17:49
  3        A     As I stated, it's probably in response to                   14:17:51
  4    the secretary wanting the input of other federal                      14:17:54
  5    agency partners in the review process.                                14:18:06
  6        Q     Yeah.    Okay.    Thank you for bearing with me             14:18:29
  7    with all those names.                                                 14:18:31
  8              So I'm not going to make you go through the                 14:18:41
  9    entire history of -- from 2008 till the present of                    14:18:44
10     exactly what that process looks like in as much                       14:18:47
11     detail, but I know that you wanted to say something                   14:18:51
12     about what the process was and how it differed or                     14:18:54
13     didn't differ prior to 2017.                                          14:18:55
14         A     Sure.    I think it's important to know that                14:18:58
15     when I came in, again, I deferred to my staff who                     14:19:00
16     have done this since about 2008, and so because you                   14:19:03
17     had asked about it.        The process was regular --                 14:19:06
18     pretty similar.       There is a decision memo, there's a             14:19:09
19     Federal Register Notice.         However, in the previous             14:19:15
20     administration, a decision memo was written in                        14:19:18
21     conjunction at the same time as the Federal Register                  14:19:23
22     Notice, and that -- that Federal Register Notice,                     14:19:34
23     which was cleared by all the relevant personnel, you                  14:19:40
24     know, that I mentioned earlier, but that went to OMB                  14:19:45
25     prior to the decision-making.                                         14:19:48


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  1        Q      Why do you think that process changed?                     14:19:58
  2        A      When I came in as chief, the -- the                        14:19:58
  3    decision memo was written and because I did not want                  14:20:03
  4    staff to expend resources to write a Federal                          14:20:10
  5    Register Notice that went in three or four different                  14:20:13
  6    directions for every option available, I asked them                   14:20:15
  7    to withhold writing the Federal Register Notice                       14:20:20
  8    until a decision was made.                                            14:20:21
  9        Q      To make sure I understand correctly, the                   14:20:24
10     Federal Register Notice in previous administrations,                  14:20:26
11     it was -- what was sent to the OMB before the                         14:20:32
12     decision was made was not just one Federal Register                   14:20:33
13     Notice, but various drafts of Federal Register                        14:20:36
14     Notices?                                                              14:20:40
15         A      I don't know how many they sent.           Maybe           14:20:40
16     they assumed that they knew what the decision was                     14:20:42
17     and they only sent one.         If there were options, they           14:20:44
18     may have sent more.        It's -- I don't know.        But it's      14:20:47
19     during that OMB process where there's input from                      14:20:54
20     other agencies during that decision process;                          14:20:57
21     whereas, now it's, you know, the decision of the                      14:21:00
22     secretary and then it's sent to OMB.                                  14:21:02
23         Q      Okay.   In previous administrations when the               14:21:10
24     OMB received the Federal Register Notice or Notices,                  14:21:15
25     would they then begin that interagency consultation                   14:21:22


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  1    process prior to -- potentially prior to the                          14:21:27
  2    decision actually being made?                                         14:21:29
  3        A     Yes.                                                        14:21:30
  4        Q     And what would that consultation process                    14:21:31
  5    look like, to the extent that you know?                               14:21:33
  6        A     It's the same process I explained before                    14:21:37
  7    with the Federal Register Notice.            That is, it's            14:21:40
  8    sent to agency partners that may have a stake in it.                  14:21:41
  9    Again, it could be the Department of State.               It          14:21:44
10     could be the Department of Defense.            It could be the        14:21:46
11     Department of Justice.         It could be the Department             14:21:48
12     of Health and Human Services if it had to deal with                   14:21:54
13     Ebola so -- and also to the executive office.                  I      14:21:55
14     understand that they're part of the review as well.                   14:21:58
15         Q     Are there other changes from 2007 -- how                    14:22:07
16     the TPS decisions were made from 2007 to the present                  14:22:12
17     as compared to prior to 2017?                                         14:22:15
18         A     No.    For -- for the most part, because the                14:22:17
19     subject matter experts who were there in the                          14:22:21
20     previous administration were also there for the last                  14:22:22
21     several decisions, the process mainly remained the                    14:22:28
22     same.    They shifted slightly, but it had to deal                    14:22:33
23     with, you know, what time -- or the timing of a                       14:22:35
24     State Department recommendation and assessment, you                   14:22:39
25     know, but overall the process was generally the                       14:22:46


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  1    relevant for a decision about TPS determinations?                     15:25:42
  2              MR. TYLER:      Again, I'll object as being                 15:25:46
  3    outside the scope of the 30(b)(6) notice, ongoing                     15:25:48
  4    objection.                                                            15:25:52
  5              THE WITNESS:      I don't know if it's relevant             15:25:55
  6    to a decision or if it has been asked for in the                      15:25:56
  7    past.                                                                 15:26:00
  8    BY MS. MACLEAN:                                                       15:26:00
  9        Q     Is it one of the criteria that's considered                 15:26:00
10     by USCIS or the department in making a decision with                  15:26:04
11     regard to TPS for a particular country?                               15:26:10
12         A     I don't think it's normally considered.                     15:26:13
13     Not to say it has never been considered, but, again,                  15:26:16
14     after asking for it and realizing that it's hard to                   15:26:21
15     track and the data doesn't exist, it probably hasn't                  15:26:25
16     been considered.                                                      15:26:28
17         Q     And what makes you think it's not normally                  15:26:28
18     considered?                                                           15:26:32
19         A     Because, as I just said, that it's                          15:26:33
20     difficult to track and it's hard to -- hard to                        15:26:35
21     obtain this information.         It may not even exist and            15:26:41
22     that's why it may not be asked for.                                   15:26:44
23         Q     Do you know why it was being considered                     15:26:46
24     this time?                                                            15:26:47
25         A     No, I don't know.        Again, the secretary was           15:26:48


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  1    new.    The secretary wanted to understand TPS                        15:26:54
  2    populations.                                                          15:26:57
  3        Q     Okay.    And then the third bullet point:                   15:26:57
  4    How many have been convicted of crimes, is that                       15:27:01
  5    relevant for a TPS determination?                                     15:27:06
  6        A     It may be.      It was information that the                 15:27:12
  7    secretary's office wanted to understand about the                     15:27:17
  8    TPS population.                                                       15:27:20
  9        Q     Why -- how may it be relevant for making a                  15:27:21
10     determination about TPS for a particular country?                     15:27:27
11         A     I'd have to look at the statute again.                      15:27:31
12         Q     I think you have it in front of you.             I          15:27:33
13     think it's Exhibit 1.                                                 15:27:36
14         A     I'm not an attorney.        So I would just point           15:29:00
15     to Section 244(b), the designation, 244(b)(c):                 The    15:29:02
16     attorney general finds that there exist                               15:29:07
17     extraordinary and temporary conditions -- I'm sorry.                  15:29:08
18     The attorney general finds that there exist                           15:29:11
19     extraordinary and temporary conditions in the                         15:29:14
20     foreign state that prevent aliens who are nationals                   15:29:16
21     of that state from returning to that state in                         15:29:20
22     safety, unless the attorney general finds that                        15:29:24
23     permitting the aliens to remain temporarily in the                    15:29:28
24     United States is contrary to the national interest                    15:29:31
25     of the United States.                                                 15:29:35


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  1        Q     So how do you -- when you read that, you                    15:29:40
  2    state that that points to why the data that you've                    15:29:45
  3    requested here is relevant.          Can you elaborate how            15:29:48
  4    that section suggests that the data that you                          15:29:50
  5    requested was relevant?                                               15:29:58
  6        A     I think it's pretty clear what it says,                     15:29:59
  7    that the attorney general finds that permitting                       15:30:01
  8    aliens to remain temporarily in the United States is                  15:30:03
  9    contrary to the national interest of the United                       15:30:08
10     States.     That may be the relevance.                                15:30:11
11         Q     So are you suggesting that if there were a                  15:30:14
12     large number of TPS holders who were on public and                    15:30:17
13     private relief, that that might be a reason to deny                   15:30:21
14     or to not extend TPS because it would be contrary to                  15:30:27
15     the national interest?         I don't want to put words in           15:30:32
16     your mouth, so if you could clarify.                                  15:30:34
17         A     Yeah, you are putting words in my mouth,                    15:30:36
18     and, again, I cannot testify to the legal                             15:30:39
19     consideration that is given.          I can only tell you             15:30:41
20     what is in the statute, and the factors that are                      15:30:44
21     considered are what's in the secretary -- in the                      15:30:48
22     decision memo to the secretary.                                       15:30:51
23         Q     So you're stating that how many TPS holders                 15:30:52
24     are on public and private relief and how many have                    15:30:57
25     been convicted of crimes may go to the question of                    15:31:00


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  1    whether TPS -- TPS extension would be in the                            15:31:02
  2    national interest?                                                      15:31:09
  3        A     I did not say that.        I think you're putting             15:31:11
  4    words in my mouth again.         I'm just saying that                   15:31:13
  5    there -- there could be relevance between those data                    15:31:15
  6    points and Section 244 of the INA.                                      15:31:18
  7        Q     I'm trying to understand exactly what you                     15:31:21
  8    mean by that because you've read a significant                          15:31:25
  9    provision, which includes a number of words.                 I          15:31:28
10     don't know what words you're pointing to that you're                    15:31:31
11     saying this data is relevant to.                                        15:31:34
12               Could you clarify what part of 244(b) you                     15:31:37
13     think suggests that DHS should be collecting data on                    15:31:41
14     how many TPS holders are on public and private                          15:31:52
15     relief and how many have been convicted of crimes?                      15:31:56
16               MR. TYLER:      Objection, mischaracterizes                   15:31:58
17     testimony.                                                              15:32:00
18               THE WITNESS:      I didn't suggest that we                    15:32:00
19     should.     The question came do we have it.           The              15:32:02
20     secretary's office wanted to know the population --                     15:32:05
21     information about TPS population.                                       15:32:12
22     BY MS. MACLEAN:                                                         15:32:15
23         Q     So you've suggested that that may be                          15:32:15
24     relevant to the decision around TPS, and I'm not                        15:32:17
25     putting words -- not suggesting that this is your                       15:32:20


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  1               MR. TYLER:     Objection, vague.                           16:55:57
  2               THE WITNESS:     You're asking if I consider               16:56:03
  3    the points that he raised would be relevant                           16:56:04
  4    criteria?                                                             16:56:09
  5    BY MS. MACLEAN:                                                       16:56:09
  6        Q      Yes.   That's my question.                                 16:56:09
  7        A      I think there may be points in here that                   16:56:11
  8    are not relevant.                                                     16:56:15
  9        Q      What are the points that are not relevant                  16:56:15
10     in here?                                                              16:56:17
11         A      Data shows that TPS recipients have a very                 16:56:32
12     high workforce participation rate, much higher than                   16:56:35
13     the national average is one example.             TPS recipients       16:56:40
14     have jobs, have gotten married, have many thousands                   16:56:42
15     of American citizen children.           Work legally in great         16:56:46
16     numbers.     Pay taxes.     Own homes.     Own businesses and         16:56:54
17     live the American dream minus a path to citizenship.                  16:56:57
18     I'll stop there.       Those are examples.                            16:57:11
19         Q      Can you elaborate in the second paragraph                  16:57:14
20     and third paragraphs -- and this will be the last                     16:57:18
21     point on this document, but what portions of those                    16:57:20
22     paragraphs are inconsistent with the statute?                         16:57:24
23                MR. TYLER:     What paragraphs are you on?                 16:57:27
24                MS. MACLEAN:     The Working Against Ourselves             16:57:28
25     and Foreign Policy Considerations.                                    16:57:30


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  1    BY MS. MACLEAN:                                                       16:57:32
  2        Q     So what else in the section of Working                      16:57:43
  3    Against Ourselves and Foreign Policy Considerations                   16:57:45
  4    are not criteria that should be considered for TPS                    16:57:48
  5    determinations?                                                       16:57:50
  6        A     The fact that the U.S. is investing $700                    16:57:54
  7    million into Central America aimed at mitigating the                  16:57:57
  8    push factors of migration.          It may be a relevant              16:58:04
  9    factor.                                                               16:58:10
10         Q     Sorry.    It may be a relevant factor?                      16:58:10
11         A     It may be a relevant factor but -- the fact                 16:58:13
12     that we are spending money in Central America, but                    16:58:22
13     the fact that we're trying to mitigate push factors                   16:58:25
14     of migration, I'm not quite sure how that is                          16:58:28
15     relevant to the standards in the INA.                                 16:58:31
16         Q     What about the sentence that starts at the                  16:58:49
17     bottom of that page:        While willing partners, this              16:58:51
18     massive influx of returnees puts huge burdens on                      16:58:54
19     employment, large scale unemployment is compounded                    16:58:54
20     by the fact that almost 70 percent of Hondurans work                  16:59:00
21     in the gray economy and other weak institutions and                   16:59:03
22     services, is that relevant criteria?                                  16:59:05
23         A     It's not -- this is not a clear sentence as                 16:59:09
24     to the massive influx of returnees.            Is that a huge         16:59:11
25     burden on which country?         Honduras?     It's not clear         16:59:18


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  1    to me what we're talking about here.             Honduras.            16:59:21
  2        Q      Yes.   Is that -- is that a relevant                       16:59:30
  3    criterion for considering whether TPS should be                       16:59:35
  4    extended or terminated?                                               16:59:37
  5               MR. TYLER:     I think the deponent has                    16:59:39
  6    testified that it's not clear what is being said in                   16:59:41
  7    that sentence, so I think it's an unfair question.                    16:59:43
  8               THE WITNESS:     I think it's relevant to a                16:59:48
  9    TPS designation on whether or not a country can                       16:59:51
10     adequately handle the return of its nationals.                        16:59:57
11     BY MS. MACLEAN:                                                       17:00:06
12         Q      So in the fourth sentence of the Foreign                   17:00:06
13     Policy Considerations he writes that violence has                     17:00:10
14     been reduced, though it is still at intolerably high                  17:00:13
15     levels.     Is that a relevant criterion for whether                  17:00:16
16     TPS should be extended or terminated for --                           17:00:20
17         A      We include --                                              17:00:23
18         Q      Sorry -- just for Honduras, El Salvador,                   17:00:25
19     and Nicaragua?                                                        17:00:28
20         A      We include in our decision memo I believe                  17:00:29
21     in some instances information on violence.              So that       17:00:34
22     is a factor that the secretary can consider, but                      17:00:39
23     whether or not that goes to -- I think that can be                    17:00:47
24     debated.                                                              17:00:54
25         Q      Can you elaborate?                                         17:00:55


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  1        A     I think there might be differing opinions                   17:00:56
  2    about whether or not violence is an adequate                          17:00:58
  3    criteria or appropriate criteria I should say.                        17:01:08
  4        Q     Is there a position of USCIS at this time?                  17:01:11
  5        A     We include a discussion on violence in our                  17:01:16
  6    memos as well, our decision memos, because we want                    17:01:18
  7    to lay out all the conditions in a country for the                    17:01:21
  8    secretary to consider.                                                17:01:25
  9        Q     But does USCIS have a position about                        17:01:26
10     whether it is a relevant criterion even -- well,                      17:01:28
11     I'll leave the question there.                                        17:01:33
12               Does USCIS have a position about whether                    17:01:34
13     violence in a country that has been designated for a                  17:01:38
14     natural disaster is a relevant criteria for a later                   17:01:40
15     determination?                                                        17:01:45
16         A     You're going to have to repeat your                         17:01:48
17     question.                                                             17:01:50
18         Q     Does USCIS have a position about whether                    17:01:50
19     violence in a country that has been designated for                    17:01:57
20     TPS on account of a natural disaster, whether that                    17:02:00
21     violence is a relevant criterion to consider when                     17:02:04
22     making a determination about whether TPS should be                    17:02:10
23     extended or terminated for that country?                              17:02:13
24         A     I don't know what the USCIS position is.                    17:02:17
25     Again, we include it as part of our decision memo.                    17:02:21


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  1       CERTIFICATE OF SHORTHAND REPORTER-NOTARY PUBLIC
  2             I, Joan V. Cain, Court Reporter, the officer
  3    before whom the foregoing deposition was taken, do
  4    hereby certify that Kathy Nuebel Kovarik personally
  5    appeared before me on August 3, 2018 and was duly
  6    sworn; that the foregoing transcript is a true and
  7    correct record of the testimony given; that said
  8    testimony was taken by me stenographically and
  9    thereafter reduced to typewriting under my
10     direction; that reading and signing was not
11     requested; and that I am neither counsel for,
12     related to, nor employed by any of the parties to
13     this case and have no interest, financial or
14     otherwise, in its outcome.
15              IN WITNESS WHEREOF, I have hereunto set my
16     hand and affixed my notarial seal this 6th day of
17     August 2018.
18
19     My commission expires:
20     July 31, 2019
21     ____________________________
22     NOTARY PUBLIC IN AND FOR THE
23     DISTRICT OF COLUMBIA
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